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                          EXHIBIT A
  Case 3:20-cv-01289-BRM-DEA Document 1-1 Filed 02/06/20 Page 2 of 7 PageID: 7



                                                          SUMMONS

Attomey(s) Mr. Katz
              -~-----------------                                                   Superior Court of
0 ffi c e Address ~
                  5 James
                      ~~  Street
                            ~~~-----------
Town, State, Zip Code Lakewood NJ 08701                                                New Jersey
                                                                                   O
                                                                                   _ c_e a_n_ _ _a:,ounty
Telephone Number                                                                                      Division
Attomey(s) for Plaintiff _ _ _ __ __ _ __ __                                Docket No: _L-_3_0_65_-_19_ _ _ _ __




         Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court ofNew Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.nicourts. gov/forms/10153 deplyclerklawref. pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, ifno attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.                                     ·

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (l-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.n jcourts.gov/forms/10153 deotyclerklawref. pdf.


                                                                          Clerk of the Superior Court


DATED: 12/12/2019
            --------
Name of Defendant to Be Served: _A_m_b_it_ E
                                           _ n_e_r~gy~ -- - - - - - - - - - -- -- - - - - - - - -
Address of Defendant to Be Served: 1801 N. Lamar Street Suite 600 Dallas TX 75202




Revised 11/17/2014, CN I 0792-English (Appendix XII-A)
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Mr. Katz
5 James Street
Lakewood, NJ 08701


MR.KATZ

             Plaintiff,

                                                    Civil Action
AMBIT ENERGY,                                       Docket No.
         Defendant.
                                                    SUMMONS AND COMPLAINT



                                           FIRST COUNT
                                        Unlawful Enrichment
      1. Plaintiff is an individual that has a longstanding account with New Jersey Natural Gas
         Company.
      2. In 2013, the Defendant unlawfully added Plaintiff's account to their roster of clients
         that they service with their natural gas needs.
      3. This was done without the Plaintiffs acceptance and knowledge to the Defendant's
         benefit.
      4. This constitutes theft and unlawful enrichment on the Defendant's part.
      5. The cost to the Plaintiff was more than it would have been without the Defendant's
         services.
      6. This act of theft and unlawful enrichment caused damages to the Plaintiff.

      WHEREFORE, Plaintiff demands;

      a) Damages
      b) Punitive damages in the amount of $150,000
      c) Court costs
      d) Any other remedies that the Court deems just.
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                                      SECOND COUNT

                                     Unlawful Enrichment

   L Plaintiff repeats all the allegations set forth in the First Count of the Complaint.
  2. From January 2014 through December 2014 the defendant unlawfully put the plaintiff
      down as their client to charge them a "Delivery/Supply" charge to the plaintiffs
      detriment.

   WHEREFORE, Plaintiff demands;

  a) Damages
  b) Punitive damages in the amount of $150,000
  c) Court costs
  d) Any other remedies the court deems just.




                                           THIRD COUNT

                                         Unlawful Enrichment

   1. Plaintiff repeats al the allegations set forth in the First and Second Count of the
      Complaint.
  2. From January 2015 through December 2015 the defendant unlawfully put the plaintiff
      down as their client to charge them a "Delivery/Supply" charge to the plaintiffs
      detriment.

  WHEREFORE Plaintiff demands;

  a) Damages

  b) Punitive damages in the amount of $150,000

  c) Court costs

  d) Any other remedies the court deems just.
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                                      FOURTH COUNT

                                      Unlawful Enrichment

   1. The plaintiff repeats all the allegations set forth in the First, Second, and Third Counts of
       the Complaint.
   2. In 2016 the defendant unlawfully put the plaintiff dawn as their client to charge them a
       "Delivery/Supply" charge to the plaintiffs detriment.

   WHEREFORE Plaintiff demands;

   a) Damages
   b) Punitive damages in the amount of $150,000
   c) Court Costs
   d) Any other remedy the court deems just.

                                         FIFTH COUNT

                                         Consumer Fraud

   1. Plaintiff repeats all the allegations set forth in the First thru Fourth Counts of the
       Complaint.
   2. Defendant's actions constitute a violation of the consumer fraud statute.

   WHEREFORE, Plaintiff demands;

   a) Damages
   b) Punitive damages in the amount of $150,000
   c) Court costs.
   d) Any other remedies that the court deems just.

                                         SIXTH COUNT

   1. Plaintiff repeats all the allegations set forth in the First thru Fifth Counts of the complaint.
   2. Defendants actions with intent to charge and defraud the plaintiff constitute fraud.
   3. Defendants fraudulent actions make the defendant liable for treble damages.
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   WHEREFORE, Plaintiff demands;

   a) Damages

   b) Punitive damages in the amount of $150,000

   c) Court Costs

   d) Any other remedies the court deems just.




                                       SEVENTH COUNT

                                       Invasion of Privacy

   1. Plaintiff repeats all the allegations set forth in the First thru Sixth Counts of the
      complaint.
   2. Defendant's action of accessing the plaintiff's consumer account with NJNG constitutes
      an invasion of the plaintiffs privacy.

   WHEREFORE, Plaintiff demands:

   a) Damages
   b) Punitive damages in the amount of $150,000
   c) Court Costs
   d) Any other remedies the court deems just.


                          CERTIFICATION PURSUANT TO RULE 4:5-1
      Plaintiff, Mr. Katz hereby certifies that the matter in controversy is not subject to any
      other pending action in any other court, and is likewise not the subject of any pending
      arbitration proceeding. Plaintiff further certifies that he has no knowledge of any
      contemplated action or arbitration proceeding in this matter.


      /;1     /1;7
      Marcel Katz
..          Case 3:20-cv-01289-BRM-DEA Document 1-1 Filed 02/06/20 Page 7 of 7 PageID: 12


                                                                        Appendix XII-Bl
                                                                                                                                       For Use by Clerk's   orr,ce Only
                                      Civil Case Information Statement                                                        Payment type:        1J ck     D cg D ca
                                                                       (CIS)                                                  Chg/Ck Number:

                                                     Use for initial Law Division                                             Amount:
                                       Civil Part pleadings (not motions) under Rule 4:5-1
                                   Pleading will be rejected for filing, under Rule 1 :5-G(c),                                Overpayment:
                                    if information above the black bar is not completed
                                              or attorney's signature is not affixed                                          Batch Number:


       Attorney/Pro Se Name                                                  Telephone Number                        County of Venue
       Mr.Katz
       Firm Name (if applicable)                                                                                     Docket Number (when available)


       Office Address                                                                                                Document Type
       5 James Street
                                                                                                                     Complaint
       Lakewood NJ 08701
                                                                                                                     Jury Demand             □ Yes           □ No
       Name of Party (e.g., John Doe, Plaintiff)                   Caption
       Mr. Katz                                                     Mr. Katz vs Ambit Energy



       Case Type Number (See reverse side for listing)                       Is this a professional malpractice case?                 D Yes     D No
                                                                             If you have checked "Yes," see N.J.S.A. 2A:53A-27 and applicable case law
                                                                             regarding your obligation to file an affidavit of merit.

       Related Cases Pending?                      If "Yes," list docket numbers
                D Yes               ■ No

      Do you anticipate adding any parties                                   Name of defendant's primary insurance company (if known)
      (arising out of same transaction or occurrence)?                                                                                                       D None
                             □ Yes                    ■ No                                                                                                   ■ Unknown

                              The Information Provided on This Form Cannot be Introduced into Evidence.
      Case Characteristics for Purposes of Determining if Case is Appropriate for Mediation
      Do parties have a current, past or recurrent relationship?

                □ Yes                 □ No
                                                                     I0DIf "Yes," is that relationship:
                                                                            Employer/Employee
                                                                            Familial
                                                                                                          O Friend/Neighbor
                                                                                                          D Business
                                                                                                                                   0   Other (explain)



      Does the statute governing this case provide for payment of fees by the losing party?                                              □ Yes               □ No

      Use this space to alert the court to any special case characteristics that may warrant individual management or accelerated disposition




       6
                Do you or your client need any disability accommodations?              If yes. please identify the requested accommodation:
                □ Yes                  ■ No                                        I
                Will an interpreter be needed?                                         If yes , for what language?
                OYes                   ■ No                                        I
      I certify that confidential personal Identifiers have been redacted from documents now submitted to the court and will be
      redacted from all docume~ submitted in the future in accordance with Rule 1:38-7(b).

      Attorney Signature:
                              /'~a-                                                                                                                  11.\ 1• /, ..



     Revised Form Promulgated by 07/01/2019 Notice to the Bar, CN 10517                                                                                              page 1 of 2
